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 4   Attorneys for
     MOHAMMAD NASIR KHAN
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 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,    )             No.   2:09-cr-00436-MCE
11                                )
                   Plaintiff,     )
12                                )             STIPULATION TO CONTINUE
                                  )             DATE FOR SENTENCING
13        v.                      )
                                  )
14   MOHAMMAD NASIR KHAN, et al., )
                                  )
15                 Defendants.    )
     ____________________________)
16
17         IT IS HEREBY STIPULATED AND AGREED between the defendants,
18   Mohammad Nasir Khan and Obed Ur Rahman, by and through their undersigned
19   defense counsel, Bruce Locke and Randy Thomas, and the United States of
20   America by and through its counsel, Assistant U.S. Attorney John Vincent, that
21   the date for sentencing both defendants currently set for January 26, 2012
22   should be continued to March 1, 2012.
23         The reason for the continuance is that Mr. Locke needs additional time to
24   resolve the amount of the taxes due from Mr. Khan so that the parties can
25   stipulate to the amount of restitution that Mr. Khan will owe to the IRS.
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 1   The parties request that Mr. Rahman’s case be continued because both the
 2   government and the defense prefer that both defendants be sentenced on the
 3   same day since the loss figure from Mr. Khan would impact the total loss figure,
 4   which is relevant to Obed Rahman’s sentencing.
 5         It is further stipulated that formal objections to the PSR shall be filed no
 6   later than February 16, 2012; that any opposition to the formal objections shall
 7   be filed no later than February 23, 2012; and that any Sentencing
 8   Memorandum shall be filed no later than February 23, 2012.
 9
     DATED: January 19, 2012                     /S/ Bruce Locke
10                                        BRUCE LOCKE
                                          Attorney for Mohammad Nasir Khan
11
12   DATED: January 19, 2012                     /S/ Bruce Locke
                                          For RANDY E. THOMAS
13                                        Attorney for Obed Ur Rahman
14
15
16   DATED: January 19, 2012                 /S/ Bruce Locke
                                          For JOHN VINCENT
17                                        Attorney for the United States
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19
                                          ORDER
20
           IT IS SO ORDERED.
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22    Dated: January 23, 2012

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                                          ______________________________
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                                          MORRISON C. ENGLAND, JR.
25                                        UNITED STATES DISTRICT JUDGE

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